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 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,          ) 1:06 CR 00059 AWI
                                        )
12                   Plaintiff,         )
                                        )
13        v.                            ) STIPULATION RE:
                                        ) CONTINUANCE AND ORDER
14   SERGIO REYNOL PADILLA,             )
       aka Sergio Reynol Padilla-       )
15     Gonzalez,                        )
     LORENA PEREZ,                      )
16   FRANCHESKA BRIZAN,                 )
     DAMON GUNN, and                    )
17   DANIEL ANGULO,                     )
                                        )
18                                      )
                     Defendants.        )
19   ___________________________________)

20         Defendant SERGIO REYNOL PADILLA, by and through his attorney,

21   STEPHEN MENSEL, Defendant LORENA PEREZ, by and through her

22   attorney, RICHARD P. BERMAN, Defendant FRANCHESKA BRIZAN, by and

23   through her attorney, JOSEPH SHEMARIA, Defendant DAMON GUNN, by

24   and through his attorney, JAMES HOMOLA, Defendant DANIEL ANGULO,

25   by and through his attorney, ROGER NUTTALL, and the United States

26   of America, by and through its attorneys, LAWRENCE G. BROWN,

27   Acting United States Attorney, and KAREN A. ESCOBAR, Assistant

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 1   United States Attorney, hereby enter into the following

 2   stipulation:

 3         1.    The parties to the above-captioned matter agree to vacate

 4   the July 28, 2009, trial date and reset the matter for trial on

 5   October 27, 2009, at 8:30 a.m. and to vacate the trial

 6   confirmation hearing set for June 29 at 9:00 a.m.

 7         2.    The parties further agree that any responses to motions

 8   in limine shall be due on or before September 14, 2009, at 4:00

 9   p.m. and any replies shall be due on or before October 5, 2009, at

10   4:00 p.m.

11         3.    The parties further agree that the hearing on the motions

12   and trial confirmation shall be held on Tuesday, October 13, 2009,

13   at 11:00 a.m.

14         4.    The parties stipulate that the continuance is

15   necessitated by the defendants’ need to further investigate and

16   prepare for trial and/or to negotiate a resolution of this matter,

17   as well as the unavailability of counsel and government’s

18   scheduling conflicts due to the trial of United States v. Harjeet

19   Mann, et al, 1:08CR212 OWW, set for June 9, which is expected to

20   last several weeks.     The parties note that Mr. Nuttall is

21   relatively new to the case and the parties are renewing plea

22   negotiations.

23         5.    The parties stipulate that time would be excluded under

24   the Speedy Trial Act and that the ends of justice served by

25   granting the requested continuance outweigh the best interests of

26   the public and the defendant in a speedy trial, in that the

27   failure to grant the continuance would deny counsel for defense

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 1   and the government a reasonable period of time to adequately

 2   prepare for trial.

 3   DATED: June 7, 2009                          Respectfully submitted,

 4                                                McGREGOR W. SCOTT
                                                  United States Attorney
 5
                                                  By: /s/ Karen A. Escobar
 6                                                  KAREN A. ESCOBAR
                                                  Assistant U.S. Attorney
 7

 8                                                 /s/ Stephen Mensel
                                                   STEPHEN MENSEL
 9                                                 Attorney for Defendant
                                                   SERGIO REYNOL PADILLA
10
                                                   /s/ Richard Berman
11                                                 RICHARD P. BERMAN
                                                   Attorney for Defendant
12                                                 LORENA PEREZ

13
                                                   /s/ Joseph Shemaria
14                                                 JOSEPH SHEMARIA
                                                   Attorney for Defendant
15                                                 FRANCHESKA BRIZAN

16                                                 /s/ James Homola
                                                   JAMES HOMOLA
17                                                 Attorney for Defendant
                                                   DAMON GUNN
18
                                                   /s/ Roger Nuttall
19                                                 ROGER NUTTALL
                                                   Attorney for Defendant
20                                                 DANIEL ANGULO

21
                                   O R D E R
22
          Having read and considered the foregoing stipulation, IT IS
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     THE ORDER of the Court that the current trial date of July 28 is
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     hereby vacated and the trial is reset for October 27, 2009, at
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     8:30 a.m., and any motions in limine/trial confirmation hearing
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     set for June 29, 2009, at 9:00 a.m. is hereby vacated and is reset
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     for October 13, 2009, at 11:00 a.m.
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 1            IT IS FURTHER ORDERED THAT any responses to motions in limine

 2   shall be filed on or before September 14, 2009, at 4:00 p.m. and

 3   any replies shall be filed on or before October 5, 2009, at 4:00

 4   p.m.

 5            The Court also finds that the ends of justice served by

 6   granting the requested continuance outweigh the best interests of

 7   the public and the defendant in a speedy trial, in that the

 8   failure to grant the continuance would deny counsel for the

 9   defense and government a reasonable period of time to adequately

10   prepare for trial or reach a resolution through plea negotiations.

11            WHEREFORE IT IS HEREBY ORDERED that time shall be excluded in

12   the interest of justice, pursuant to 18 U.S.C. § 3161(h)(8)(A).

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14   IT IS SO ORDERED.

15   Dated:     June 9, 2009                /s/ Anthony W. Ishii
     0m8i78                        CHIEF UNITED STATES DISTRICT JUDGE
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